        Case 3:20-cv-02228-MEM-DB Document 16 Filed 09/23/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA

WILFREDO RODRIGUEZ,                     :
                                            CIVIL ACTION NO. 3:20-2228
                         Petitioner     :
                                                 (JUDGE MANNION)
                   v.                   :

WARDEN ERIC BRADLEY,                    :

                         Respondent     :

                                      ORDER

        In accordance with this court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1.   Rodriguez’ petition for a writ of habeas corpus (Doc. 1),
             pursuant to 28 U.S.C. §2241 is DISMISSED without prejudice.

        2.   Rodriguez’ motion for appointment of counsel and to certify
             class (Doc. 7) is DISMISSED as moot.

        3.   The Clerk of Court is directed to CLOSE the above captioned
             case.


                                            s/Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge
Dated: September 23, 2021
20-2228-01-Order
